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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                :
Tonya Saccardo,                                 :
                                                :        Civil Action No.: 1:10-cv-11942
                       Plaintiff,               :
       v.                                       :
                                                :
Northstar Location Services, LLC; and DOES      :
1-10, inclusive,                                :
                                                :
                       Defendant.               :
                                                :


            NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                    DISMISSAL OF ACTION WITH PREJUDICE
                           PURSUANT TO RULE 41(a)

       Tonya Saccardo (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint and
voluntarily dismisses this action, with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: March 9, 2011

                                                    Respectfully submitted,

                                                    By: /s/ Sergei Lemberg

                                                        Sergei Lemberg, Esq.
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                                                        Attorneys for Plaintiffs
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 9, 2011, a true and correct copy of the foregoing Notice of
Settlement was served electronically by the U.S. District Court for the District of Massachusetts
Electronic Document Filing System (ECF) and that the document is available on the ECF
system.

                                             By_/s/ Sergei Lemberg_________

                                                  Sergei Lemberg
